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     Attorney for Defendant
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 9                                    IN THE UNITED STATES DISTRICT COURT

10                                      EASTERN DISTRICT OF CALIFORNIA

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12
13    UNITED STATES OF AMERICA,                        Case No. 2:19-cr-053-WBS

14
                                                       STIPULATION AND ORDER TO
15                    PLAINTIFF,                       SET JUDGMENT AND
                                                       SENTENCING DATE
16           v.

17
18    DENNIS MORITA,

19
20    DEFENDANT.

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22
              Defendant Dennis Morita (“Defendant”) and the United States of America, through their
23
     counsel Assistant United States Attorney Matthew Thuesen, hereby agree and STIPULATE to the
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25   following;

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     Stipulation and Order
     U.S. v. Morita, 2:19-cr-53-WBS
                Case 2:19-cr-00053-WBS Document 69 Filed 06/21/24 Page 2 of 3


 1            1) The Court VACATE the currently set judgment of June 24, 2024.
 2            2) The Court set the sentencing date to the agreed upon date noted below;
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 4
              a. JUDGMENT AND SENTENCING:                               September 16, 2024, 9:00 a.m.
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 6
 7   Date: June 19, 2024.
                                                         /s/ Russell S. Humphrey
 8
                                                         ____________________________
 9
                                                         RUSSELL S. HUMPHREY, Attorney for
10                                                       Defendant

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12
     Date: June 19, 2024                                 PHILLIP A. TALBERT
13                                                       United States Attorney
                                                         /s/ Matthew Thuesen
14                                                       ______________________________
                                                         MATTHEW THUESEN
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                                                         Assistant United States Attorney
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     Stipulation and Order
     U.S. v. Morita, 2:19-cr-53-WBS
                Case 2:19-cr-00053-WBS Document 69 Filed 06/21/24 Page 3 of 3


 1
 2
 3                                                 ORDER
 4            Upon stipulation of the parties and good cause having been shown, the Court adopts the
 5   parties’ stipulation as its order. The Sentencing date is reset September 16, 2024, 9:00 a.m.
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 7   IT IS SO ORDERED.
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 9   Dated: June 21, 2024
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     Stipulation and Order
     U.S. v. Morita, 2:19-cr-53-WBS
